         Case 1:21-cv-00331-JEB Document 26 Filed 03/31/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                   )
CHINATOWN SERVICE CENTER, et al.,                  )
                                                   )
                      Plaintiffs,                  )
                                                   )
v.                                                 )       Case No. 1:21-cv-00331-JEB
                                                   )
U.S. DEPARTMENT OF HEALTH                          )
AND HUMAN SERVICES, et al.,                        )
                                                   )
                      Defendants.                  )
                                                   )

                 UPDATE ON STATUS OF PROPOSED RULEMAKING

       Pursuant to this Court’s Memorandum Opinion and Order, ECF No. 23, Defendants submit

this update on their proposed rulemaking. Defendants report that the United States Department of

Health and Human Services (“HHS”) has submitted a draft of a proposed rule implementing

Section 1557 of the Affordable Care Act to the Office of Management and Budget Office of

Information and Regulatory Affair (“OIRA”). OIRA received the draft proposed rule on March

22, 2022.     The status of the proposed rule is available         at the following      website:

https://www.reginfo.gov/public/do/eoDetails?rrid=234566.

Dated: March 31, 2022                              Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Principal Deputy Assistant Attorney General

                                                   MICHELLE R. BENNETT
                                                   Assistant Director, Federal Programs Branch

                                                   /s/ Liam C. Holland
                                                   LIAM C. HOLLAND
                                                   Trial Attorney
                                                   United States Department of Justice
Case 1:21-cv-00331-JEB Document 26 Filed 03/31/22 Page 2 of 2



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